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AO 91 (Rev. l1/l   l) Criminal Complaint

                                           UNTTBo STATPS DTSTruCT COURT
                                                                 for the
                                                       District of New Mexico

                    United States of America

                                                                                     25-Bul Mr
                                v.
                                                                           caseNo.
                          Nancy Ann Cano




                             Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     April20,2025                in the county of               Dona      Ana                     in the

     State   and          District of         New Mexico        , the defendant(s) violated:

             Code Section                                                     Offense Description


1B U.S.C.S1512(k)                                Conspiracy to Tamper with Evidence.



                                                 I further state that I am a Homeland Security lnvestigations Special Agent
                                                 and that this complaint is based on the following facts:


          This criminal complaint is based on these facts:

SEE ATTACHED AFFIDAVIT




           d Continued on the attached sheet.                                                                Dloltally signed by BRIANA R
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                                                                                                   Datei 2025.04.24 2052:27 {6'00'


                                                                                               C omplainant's s i gnature


                                                                                         Briana Vigil-HSl Special Agent
                                                                                                Printed name and title
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City and state:                       Las Cruces, New Mexico                                        United States Magistrate Judge
                                                                                                Printed name and title
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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW MEXICO

                                           VS

                                    Nancy Ann Cano


1. In January 2025, Homeland Security Investigations (HSI), Las Cruces initiated an
   investigation into Cristhian Ortega-Lopez (hereafter identified as Onega). The tip alleged

   that Ortega, an illegal alien from Venezuela and a suspected member of a criminal gang,

   was residing with other illegal aliens in the United States unlawfully at an address located

   in Las Cruces, New Mexico (hereafter identified as Premises) and was in possession of

   firearms. Nancy and Jose Cano are the owners of the Premises.

2. On February 28,2025, two residential federal search warrants were executed, with one
   being at the Premises, in connection with Ortega. Ortega was arrested, is currently

   charged with l8 USC 922(d(5) - Illegal Alien in Possession of Firearms or Ammunition

   and was booked into the Doffa Ana County Detention Center pending oriminal

   proceedings. Four firearms previously seen in Ortega's possession in photos on social

   media were seized from the other residence that was searched simultaneously, and three

   of Ortega's cell phones were also seized from the Premises owned by the Canos.

3. On April 22,2025,Iaw enforcement submitted a request to the Dofia Ana County
   Detention Center (DACDC) for recorded jail calls, messages, videos, and deposits

   pertaining to Ortega. On April 23,2025,1aw enforcement reviewed video calls provided

   from DACDC in which Nancy Ortega, owner of the Premises, appeared to be in

   possession of what is believed to be Ortega's fourth mobile phone in video calls.

4. Specifically, in a video call between Nancy Cano and Ortega dated March7,2025,
   Nancy Cano is seen with a black iPhone in her hand which is believed to be Ortega's
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     phone based on a photo that was retrieved from a previously seized phone belonging to

     Ortega. Nancy Cano called an individual on WhatsApp on the black iPhone and spoke to

     an individual by the name of "Michelle." Nancy Cano provided Michelle her personal

     phone number to call so that Michelle could have a Facetime call with Ortega. Nancy did

     in fact receive a call on what appeared to be her personal phone, which has a gold case,

     from Michelle. Nancy Cano is then seen facilitating a conversation between Ortega and

     Michelle.

5.   In an additional video call between Nancy Cano and Ortega dated April 20,2025,Nancy

     Cano and Ortega discuss Ortega deleting his Facebook account. The following is a

     summary of the discussion between Nancy Cano and Ortega and not a verbatim record of

     the conversation. In the video call, Nancy Cano is heard asking Ortega if his Facebook

     account can be deleted. Ortega responds, 'oYes, to erase?" Nancy Cano then directs

     Ortega to ask his attorney the next day and to provide him the information to erase his

     Facebook account. Ortega then responds to Nancy Cano saying he cannot remember the

     information, but he [his attorney] can get it. Nancy Cano responds to Ortega by saying, I

     don't know but ask him tomorrow. Ortega tells Nancy Cano the Facebook account was

     on his phone that's in her possession (the "black one,") and that she can erase it. Ortega

     continues to say she can erase it because it is open, apparently referring to his Facebook

     account. Ortega then states Nancy Cano can get into the phone, select "eliminate" and

     delete it. Nancy Cano tells Ortega to call the lawyer to see what he says. Ortega tells

     Nancy Cano that either way, he is going to talk to Michelle so she can communicate with

     Nancy cano on whatsApp so Michelle can explain to Nancy cano how to delete

     ortega's Facebook account from that phone. Nancy Cano says "ok" to ortega. ortega
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     reminds Nancy Cano that he had two phones and two Facebook accounts, and that he

     [Ortega's attorney] is going to have to eliminate it (meaning the other Facebook account)

     because the other phone is with the "federales." Nancy Cano acknowledges what Ortega

     says by stating "oh yes."

6.   Based on the communication between Ortega and Nancy Cano regarding "Michelle"

     making contact with Nancy Cano to assist in the deletion of Ortega's Facebook account,

     law enforcement believes Nancy Cano was going to take steps to facilitate the destruction

     of evidence. This is because, Ortega's other phones had evidence of his illegal possession

     of firearms and ammunition.

7.   Additionally, on February 28,2025, the day the search warrants described above were

     executed and Ortega was taken into custody, agents permified Ortega to make a phone

     call before being transported to DACDC. Agents provided Ortega access to the mobile

     devices that had been seized. Ortega stated that the phone containing the number he

     wished to call was not among the mobile devices available to him. Based on this

     interaction, law enforcement formed the belief that one of Ortega's mobile devices may

     not have been recovered during the execution of the search warant.

8.   The residential search warrants also authorizedthe forensic analysis of the cell phones

     seized at the residences. In addition, law enforcement asked Ortega for consent to search

     the cell phones belonging to him. Ortega agreed and signed the consent form. During the

     analysis of the phones belonging to and utilized by Ortega, messages were obtained from

     at least one of his Facebook ur.ourtr. The messages reflect ortega's Tren de Aragua

     affiliation and photos of Onega in possession of firearms and ammunition. The deletion

     of these accounts would hinder the investigation and destroy evidence pertaining to
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       Ortega's criminal case.

    9. Nancy Cano has attended multiple court hearings for Ortega since his arrest on February
       28,2025. One of those hearings was a detention hearing at which evidence found on

       Ortega's social media accounts, to include Ortega's Facebook accounts, was discussed.

       It was apparent at that hearing that Ortega's accounts contained incriminating evidence.

    10. Because this affidavit is being submitted for the purpose of establishing probable cause to

       believe Nancy Cano conspired to commit an offense defined in l8 U.S.C. g 1512(c)(l), in

       violation of l8 U.S.C. $ l5l2(k): Conspiracy to Tamper with Evidence, as set forth

       herein, I have not included each and every fact known to me concerning this

       investigation. I make this affidavit on the basis of my personal knowledge and

       information furnished to me by other law enforcement officers.



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                                                       Briana Vigil
United StatEs Magistrate Judge                         Special Agent
                                                       Homeland Security Investigations
